                 Case 2:17-cr-00149-TLN Document 67 Filed 09/11/19 Page 1 of 3


 1 Preciliano Martinez
   Attorney At Law, SBN 93253
 2 1120 14th Street, Suite 5
   Modesto, CA 95354
 3 Telephone: (209) 579-2206
   Email: attymartinezp@yahoo.com
 4

 5 Attorney for:
   Rigoberto Nunez
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                            CASE NO. 2:17CR-00149 TLN
10
                                     Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                        TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                          FINDINGS AND ORDER TO CONTINUE CASE
12                                                        TO 12/12/19 AT 9:30 A.M.
     Rigoberto Nunez,
13   Oscar Rodriguez,
                                     Defendants
14

15                                                   STIPULATION

16          Plaintiff United States of America, by and through its counsel of record, James Conolly, and

17 Defendants Rigoberto Nunez, represented by Attorney Preciliano Martinez, Defendant Oscar Rodriguez,

18 represented by David Fischer, hereby stipulate as follows:

19          1.      By previous order, this matter was set for status on September 12, 2019.

20          2.      By this stipulation, defendants now move to continue the status conference until

21 December 12, 2019, and to exclude time between September 12, 2019, and December 12 2019, under

22 Local Codes T4 and M. Plaintiff does not oppose this request. The Defense continues to conduct

23 investigation, review discovery and negotiate with the Government.

24          3.      The parties agree and stipulate, and request that the Court find the following:

25                  a)       Counsel for defendants desire additional time to continue to conduct

26          investigation, and to otherwise prepare for trial. Counsel for defendants believe that failure to

27          grant the above-requested continuance would deny them the reasonable time necessary for

28          effective preparation, taking into account the exercise of due diligence. The government does

      Stip. & Order Continuing Status Conf. & Excluding   1
      Time Periods Under Speedy Trial Act
                 Case 2:17-cr-00149-TLN Document 67 Filed 09/11/19 Page 2 of 3


 1          not object to the continuance.

 2                  b)       Based on the above-stated findings, the ends of justice served by continuing the

 3          case as requested outweigh the interest of the public and the defendant in a trial within the

 4          original date prescribed by the Speedy Trial Act.

 5                  c)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 6          et seq., within which trial must commence, the time period September 12, 2019, and December

 7          12 2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

 8          Code T4] for Mr. Nunez because it results form a continuance granted by the Court at defendants

 9          request on the basis of the Court’s finding that the ends of justice served by taking such action

10          outweigh the best interest of the public and the defendants in a speedy trial.

11                  d)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §3161,

12          et seq., within which trial must commence, the time period of September 12, 2019, and

13          December 12 2019, inclusive, is deemed excludable pursuant to 18 U.S.C. §3161 (h)(3)(A) &

14          (B) [Local Code M]: unavailability of a defendant for Mr. Rodriguez.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18          IT IS SO STIPULATED.

19 Dated: September 10, 2019                                  /s/ James Conolly
                                                              JAMES CONOLLY
20                                                            Assistant United States Attorney

21

22 Dated: September 10, 2019                               /s/ Preciliano Martinez
                                                           PRECILIANO MARTINEZ, ESQ.
23                                                         Attorney for Rigoberto Nunez
24

25
     Dated: September 10, 2019                             /s/ David Fischer
26                                                         DAVID FISCHER, ESQ.
                                                           Attorney for Oscar Rodriguez
27

28

      Stip. & Order Continuing Status Conf. & Excluding   2
      Time Periods Under Speedy Trial Act
              Case 2:17-cr-00149-TLN Document 67 Filed 09/11/19 Page 3 of 3


 1

 2

 3

 4                                                       ORDER

 5         IT IS SO FOUND AND ORDERED this 10 day of September, 2019

 6

 7

 8

 9                                                             HON. TROY L. NUNLEY
                                                               UNITED STATES DISTRICT JUDGE
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     Stip. & Order Continuing Status Conf. & Excluding     3
     Time Periods Under Speedy Trial Act
